          Case 20-33948 Document 2925 Filed in TXSB on 09/20/23 Page 1 of 2




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 In re:                                                   §         Chapter 11
                                                          §
 FIELDWOOD ENERGY III LLC, et al.                         §         Case No. 20-33948 (MI)
                                                          §
                                                          §         (Jointly Administered)
                 Post-Effective date Debtors. 1           §

        CERTIFICATE OF NO OBJECTION TO PLAN ADMINISTRATOR’S
    OBJECTION TO CLAIM NO. 814 FILED BY SUPERIOR PERFORMANCE, INC.
                        [Related to Docket No. 2834]

          Pursuant to the Procedures for Complex Chapter 11 Cases in the Southern District of

Texas, the undersigned counsel for David Dunn, in his capacity as Plan Administrator (the

“Administrator”) of Fieldwood Energy III LLC, Fieldwood Energy Offshore LLC, Fieldwood

Energy Inc., GOM Shelf LLC and FW GOM Pipeline, Inc., Debtors (the “Post-Effective Date

Debtors”), certifies as follows:

          1.      On, August 15, 2023, the Administrator filed his Objection to Claim No. 814 Filed

by Superior Performance, Inc. [Docket No. 2834] (the “Objection”).

          2.      The deadline for Superior Performance, Inc. to file a response to the relief requested

in the Objection was September 15, 2023. No response to the relief requested in the Objection

was filed on the docket or received informally by counsel for the Administrator.


1
  The Post-Effective Date Debtors, along with the last four digits of each Post-Effective Date Debtor’s federal tax
identification number, as applicable, are: Fieldwood Energy III LLC (6778); Fieldwood Energy Offshore LLC (4494);
Fieldwood Energy, Inc. (4991, GOM Shelf LLC (8107), and FW GOM Pipeline, Inc. (8440). Fieldwood Energy III
LLC, Fieldwood Energy Offshore, LLC, and Fieldwood Energy Inc. are managed and operated by the Plan
Administrator, whose primary mailing address is 16255 Ventura Blvd., Suite 440, Encino, CA, 91436, C/O Province
LLC. GOM Shelf LLC and FW GOM Pipeline, Inc. (collectively, the “Post-Effective Date FWE I Subsidiaries”)
are managed and operated by Jon Graham, as sole manager of each Post-Effective Date FWE I Subsidiary. The
Debtors in the other nine pending chapter 11 cases (which continue to be jointly administered with the cases of the
Post-Effective Date Debtors), each of which have either been dissolved or merged into other entities as of the Effective
Date, consist of the following: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Offshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); Bandon Oil and Gas GP, LLC (9172); Bandon
Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline LLC (5703; and Galveston Bay
Processing LLC (0422).
       Case 20-33948 Document 2925 Filed in TXSB on 09/20/23 Page 2 of 2




       3.      The Administrator requests that the Court enter the proposed order attached hereto

as Exhibit A at its earliest convenience.

DATED: September 20, 2023                    Respectfully submitted,


                                             /s/Ken Green
                                             Ken Green (Texas State Bar No. 24036677)
                                             Aaron Guerrero (Texas State Bar No. 24050698)
                                             Bryan Prentice (Texas State Bar No. 24099787)
                                             Bonds Ellis Eppich Schafer Jones LLP
                                             950 Echo Lane, Suite 120
                                             Houston, Texas 77024
                                             (713) 335-4990 telephone
                                             (713) 335-4991 facsimile
                                             ken.green@bondsellis.com
                                             aaron.guerrero@bondsellis.com
                                             bryan.prentice@bondsellis.com

                                             ATTORNEYS FOR DAVID DUNN, THE PLAN
                                             ADMINISTRATOR    FOR   THE   POST-
                                             EFFECTIVE DATE DEBTORS


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2023, I caused a copy of the foregoing document to
be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas and via email upon Superior Performance, Inc.’s counsel of record listed
below:

 Sylvia Mayer                                       Ike Huval
 smayer@smayerlaw.com                               ikehuval@coox.net
 S. Mayer Law PLLC                                  Duhon Law Firm
 P. O. Box 6542                                     1113 Johnston St.
 Houston, TX 77265                                  Lafayette, LA 70501d



                                             /s/ Ken Green
                                             Ken Green




                                                2
